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                                        EXHIBIT 3
                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                          CASE NO. 18-CV-24100-COOKE/GOODMAN


   DIGNA VINAS,

                 Plaintiff/Counter Defendant,

   v.

   THE INDEPENDENT ORDER
   OF FORESTERS,

               Defendant/Counter Plaintiff.
   ___________________________________/

                   NOTICE OF ISSUANCE OF NON-PARTY SUBPOENAS

   TO: Craig M. Greene, Esq.
       Kramer Green Zuckerman Greene & Buchsbaum, P.A.
       4000 Hollywood Blvd.
       Suite 485-S
       Hollywood, FL 33021

        Adrian Neiman Arkin, Esq.
        Mintz Truppman, P.A.
        1700 Sans Souci Blvd.
        North Miami, FL 33181


   PLEASE TAKE NOTICE that the undersigned counsel has issued Subpoenas to produce

   documents, information, or objects pursuant to Federal Rule of Civil Procedure 45, true and

   correct copies which are attached, that command the production of documents and things

   described therein. Said Subpoenas are being served upon:


                        Hershman Medical Center
                        c/o Records Custodian
                        13400 SW 120th St., #300a
                        Miami, FL 33186

                        Humana Inc.
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                         c/o Corporation Service Company, as Registered Agent
                         1201 Hays St.
                         Tallahassee, FL 32301-2525

                         Kendall Regional Medical Center
                         HIM Shared Services-Centralized Release of Information
                         6451 126th Ave. N.
                         Largo, FL 33773

                         South Florida Diagnostic Imaging
                         c/o Records Custodian
                         11801 SW 90 St., Suite 102
                         Miami, FL 33186

   In accordance with the subpoenas, The Independent Order of Foresters has requested that the

   above listed non-parties produce records as directed in the subpoenas.



   Dated: February 18, 2020             MCDOWELL HETHERINGTON LLP
                                        Attorneys for Defendant/Counter Plaintiff
                                        2101 N.W. Corporate Blvd., Suite 316
                                        Boca Raton, FL 33431
                                        (561) 994-4311
                                        (561) 982-8985 fax




                                        By: s/Kristina B. Pett
                                        KRISTINA B. PETT
                                        Fla. Bar No. 0973688
                                        kristina.pett@mhllp.com




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                                 CERTIFICATE OF SERVICE

         I certify that on February 18, 2020, I served a copy of this document on the following:

                               Craig M. Greene, Esq.
                               Kramer Green Zuckerman Greene & Buchsbaum, P.A.
                               4000 Hollywood Blvd.
                               Suite 485-S
                               Hollywood, FL 33021
                               cgreene@kramergreen.com
                               Counsel for Plaintiff/Counter Defendant

                               Adrian Neiman Arkin, Esq.
                               Mintz Truppman, P.A.
                               1700 Sans Souci Blvd.
                               North Miami, FL 33181
                               adrian@mintztruppman.com
                               Co-Counsel for Plaintiff/Counter Defendant


                                       s/Kristina B. Pett
                                       Kristina B. Pett




                                                  3
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  AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action

                                          UNITED STATES DISTRICT COURT
                                                                 for the
                                                      SOUTHERN DISTRICT OF FLORIDA

  DIGNA VINAS,                                                            )
                                                                          )
                    Plaintiff/Counter Defendant,                          )
                   v.                                                     ) Civil Action No. 18-cv-24100-COOKE/GOODMAN
                                                                          )
  THE INDEPENDENT ORDER                                                   )
  OF FORESTERS,                                                           )
                    Defendant/Counter Plaintiff.                          )
                                                                          )
                         SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                           OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To:      Hershman Medical Center
         c/o Records Custodian
         13400 S.W. 120th St., #300a
         Miami, FL 33186
   Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: SEE ATTACHED EXHIBITS A AND B
      Place: 13400 S.W. 120th St., #300a                                           Date and Time: Wednesday, March 11, 2020 at 10:00am
             Miami, FL 33186


         □      Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or other
property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party may inspect,
measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                           Date and Time:



__________________________________________________________________________________________________
          The following provisions of Fed. R. Civ. P. 45 are attached- Rule 45(c) relating to the place of compliance; Rule 45 (d),
relating to your protection as a person subject to a subpoena; and Rule 45 (e) and (g), relating to your duty to respond to this subpoena
and the potential consequences of not doing so.

Date: ___2/19/2020_                 _____
                               CLERK OF COURT                                           OR
                               __________________________________                                                    s/ Kristina B. Pett
                                        Signature of Clerk or Deputy Clerk                                          Attorney’s signature
____________________________________________________________________________________________________________

 The name, address, e-mail, and telephone number of the attorney representing (name party) The Independent Order of
Foresters, who issued or requested this subpoena, are:
                        Kristina B. Pett, Esq, McDowell Hetherington, LLP
                        2385 N.W. Executive Center Drive
                        Boca Raton, FL 33431; Kristina.Pettemhllp.com; (561) 994-4311
  Case 1:18-cv-24100-MGC Document 61-3 Entered on FLSD Docket 03/24/2020 Page 5 of 55

  AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)
 Civil Action No. 18-cv-24100-COOKE/GOODMAN
                                                              PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

         I received this subpoena for (name of individual and title, if any)
         _______________________________________________________ on (date) ___________________________.
         □ I served the subpoena by delivering a copy to the named person as follows: ____________________________
         ___________________________________________________________________________________________
         __________________________________________________ on (date) ____________________ ; or
         □ I returned the subpoena unexecuted because: _____________________________________________________
         ___________________________________________________________________________________________.
         Unless the subpoena was issued on behalf of the United States, or one of its officer or agents, I have also
         tendered to the witness fees for one day’s attendance, and the mileage allowed by law, in the amount of
         $ __________________________.
My fees are $ ____________________ for travel and $ ________________ for services, for a total of $ ______________.


          I declare under penalty of perjury that this information is true.


Date: ___________________                                 _____________________________________________________________
                                                                                                      Server’s signature


                                                           ____________________________________________________________________
                                                                                       Printed name and title



                                                           ____________________________________________________________________
                                                                                         Server’s address


Additional information regarding attempted service, etc:




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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 3)

                         Federal Rule of Civil Procedure 45(c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                              the expert’s study that was not requested by a party.
 (1) For a Trial, Hearing or Deposition. A subpoena may command                         (C) Specifying Conditions as an Alternative. In the circumstances
a person to attend a trial, hearing, or deposition only as follows:                   described in Rule 45(d)(3)(B), the court may, instead of quashing or
   (A) within 100 miles of where the person resides, is employed, or                  modifying a subpoena, order appearance or production under
regularly transacts business in person; or                                            specified conditions if the serving party:
   (B) within the state where the person resides, is employed, or                          (i) shows a substantial need for the testimony or material that
regularly transacts business in person, if in person                                  cannot be otherwise met without undue hardship; and
            (i) is a party or a party’s officer; or                                        (ii) ensures that the subpoenaed person will be reasonably
            (ii) is commanded to attend a trial and would not incur                   compensated.
substantial expense.
  (2) For Other Discovery. A subpoena may command:                                    (e) Duties in Responding to a Subpoena.
    (A) production of documents, electronically stored information, or                  (1) Producing Documents or Electronically Stored Information.
tangible things at a place within 100 miles of where the person                       These procedures apply to producing documents or electronically
resident, is employed, or regularly transacts business in person; and                 stored information:
    (B) is commanded to attend a trial and would not incur substantial                    (A) Documents. A person responding to a subpoena to produce
expense.                                                                              documents must produce them as they are kept in the ordinary
                                                                                      course of business or must organize and label them to correspond to
 (d) Protecting a Person Subject to a Subpoena; Enforcement.                          the categories in the demand.
  (1) Avoiding Undue Burden or Expense; Sanctions. A party or                             (B) Form for Producing Electronically Stored Information Not
attorney responsible for issuing and serving a subpoena must take                     Specified. If a subpoena does not specify a form for producing
reasonable steps to avoid imposing undue burden or expense on a                       electronically stored information, the person responding must
person subject to the subpoena. The court for the district where                      produce it in a form or forms in which it is ordinarily maintained or
compliance is required must enforce this duty and impose an                           in a reasonably usable form or forms.
appropriate sanction — which may include lost earnings and                                (C) Electronically Stored Information Produced in Only One
reasonable attorney’s fees — on a party or attorney                                   Form. The person responding need not produce the same
who fails to comply.                                                                  electronically stored information in more than one form.
  (2) Command to Produce Materials or Permit Inspection.                                  (D) Inaccessible Electronically Stored Information. The person
    (A) Appearance Not Required. A person commanded to produce                        responding need not provide discovery of electronically stored
documents, electronically stored information, or tangible things, or                  information from sources that the person identifies as not reasonably
to permit the inspection of premises, need not appear in person at the                accessible because of undue burden or cost. On motion to compel
place of production or inspection unless also commanded to appear                     discovery or for a protective order, the person responding must show
for a deposition, hearing, or trial.                                                  that the information is not reasonably accessible because of undue
    (B) Objections. A person commanded to produce documents or                        burden or cost. If that showing is made, the court may nonetheless
tangible things or to permit inspection may serve on the party or                     order discovery from such sources if the requesting party shows
attorney designated in the subpoena a written objection to                            good cause, considering the limitations of Rule 26(b)(2)(C). The
inspecting, copying, testing or sampling any or all of the materials or               court may specify conditions for the discovery.
to inspecting the premises — or to producing electronically stored                     (2) Claiming Privilege or Protection.
information in the form or forms requested. The objection must be                         (A) Information Withheld. A person withholding subpoenaed
served before the earlier of the time specified for compliance or 14                  information under a claim that it is privileged or subject to
days after the subpoena is served. If an objection is made, the                       protection as trial-preparation material must:
following rules apply:                                                                     (i) expressly make the claim; and
     (i) At any time, on notice to the commanded person, the serving                       (ii) describe the nature of the withheld documents,
party may move the court for the district where compliance is                         communications, or tangible things in a manner that, without
required for an order compelling production or inspection.                            revealing information itself privileged or protected, will enable the
or inspection.                                                                        parties to assess the claim.
     (ii) These acts may be required only as directed in the order, and                   (B) Information Produced. If information produced in response to
the order must protect a person who is neither a party nor a party’s                  a subpoena is subject to a claim of privilege or of protection as trial-
officer from significant expense resulting from compliance.                           preparation material, the person making the claim may notify any
  (3) Quashing or Modifying a Subpoena.                                               party that received the information of the claim and the basis for it.
    (A) When Required. On timely motion, the court for the district                   After being notified, a party must promptly return, sequester, or
where compliance is required must quash or modify a subpoena that:                    destroy the specified information and any copies it has; must not use
     (i) fails to allow a reasonable time to comply;                                  or disclose the information until the claim is resolved; must take
     (ii) requires a person to comply beyond the geographical limits                  reasonable steps to retrieve the information if the party disclosed it
specified in Rule 45(c);                                                              before being notified; and may promptly present the information to
     (iii) requires disclosure of privileged or other protected matter, if            the court under seal for a determination of the claim. The person
no exception or waiver applies; or                                                    who produced the information must preserve the information until
     (iv) subjects a person to undue burden.                                          the claim is resolved.
(B) When Permitted. To protect a person subject to or affected by
a subpoena, the court for the district where compliance is required                   (g) Contempt.
may, on motion, quash or modify the subpoena if it requires:                          The court for the district where compliance is required—and also,
     (i) disclosing a trade secret or other confidential research,                    after a motion is transferred, the issuing court—may hold in contempt
development, or commercial information;                                               a person who, having been served, fails without adequate excuse to
     (ii) disclosing an unretained expert’s opinion or information that               obey the subpoena or an order related to it..
does not describe specific occurrences in dispute and results from

                                                                                3
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                                                             EXHIBIT A

         Your entire file relating to RIGOBERTO VINAS (the “patient”), including but not limited to:

         1.       Intake and/or new patient forms.

         2.       Admissions and discharge summaries, medical histories, physical and mental examination
                  records, operative reports, progress notes, notations by physicians, nurse notes, diagnoses
                  reports, raw test data and results, laboratory reports, pathology slides, and tissue studies.

         3.       Any and all records obtained or received from other health care practitioners relating to the
                  patient.

         4.       All actual tests including but not limited to X-ray films, imaging proofs, MRI, CAT scans,
                  EKG studies, and EEG’s. (Please provide us with an estimate of your charges prior to
                  copying films).

         5.       Insurance claim forms and other documentation relating to insurance claims filed
                  concerning treatment provided to the patient.

         6.       Prescription logs.

         7.       Telephone logs documenting conversations with the patient and/or other persons on the
                  patient’s behalf.

         8.       Diaries or other records provided by the patient relating to the patient’s condition and/or
                  symptoms.

         9.       Correspondence with the patient and/or someone on the patient’s behalf relating to a claim
                  for disability benefits.

         10.      All correspondence sent or received concerning the patient.

         11.      Any other records, reports, summaries, correspondence or written documentation relating
                  in any way to the patient’s mental, physical or emotional condition, health or medical
                  treatment.


                                    MR. VINAS’ SOCIAL SECURITY NUMBER
                                      AND DATE OF BIRTH ARE PROVIDED
                                         IN THE ATTACHED LETTER
                                 (SEE EXHIBIT B FOR CONTACT INFORMATION)


PLEASE BE ADVISED this subpoena conforms with the Standards for Privacy of Individually Identifiable Health Information and
Health Insurance Portability and Accountability Act of 1996 (HIPAA) in that it provides written assurances pursuant to 45 C.F.R. Sec.
164.512(e). By service of this Subpoena on Plaintiff’s attorney, Defendant hereby makes reasonable efforts to give Plaintiff notice of
this request and an opportunity to object. If Plaintiff makes no objection prior to the date of production and inspection identified herein,
the covered entity subject to this Subpoena shall disclose the requested protected health information.
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                                           EXHIBIT B



   1.    Produce the information requested in the following manner:

         a.     Photocopy the described information and mail or E-mail it to:

                Brenda Kronzek, Paralegal
                McDowell Hetherington, LLP
                2385 NW Executive Center Drive
                Suite 400
                Boca Raton, FL 33431
                (561) 430-3023
                (561) 982-8985 (facsimile)
                Brenda.Kronzek@mhllp.com




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                                   CERTIFICATE OF SERVICE

   I certify that on February 19, 2020, a copy of this document was served via e-mail on:

                         Craig M. Greene, Esq.
                         Kramer Green Zuckerman Greene & Buchsbaum, P.A.
                         4000 Hollywood Blvd.
                         Suite 485-S
                         Hollywood, FL 33021
                         cgreene@kramergreen.com

                         Adrian Neiman Arkin, Esq.
                         Mintz Truppman, P.A.
                         1700 Sans Souci Blvd.
                         North Miami, FL 33181
                         adrian@mintztruppman.com


                                 s/ Kristina B. Pett
                                 Kristina B. Pett
                                 MCDOWELL HETHERINGTON, LLP
                                 Attorneys for Defendant
                                 2385 N.W. Executive Center Drive, Suite 400
                                 Boca Raton, FL 33431
                                 (561) 994-4311
                                 (561) 982-8985 fax




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  Case 1:18-cv-24100-MGC Document 61-3 Entered on FLSD Docket 03/24/2020 Page 11 of 55
  AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action

                                          UNITED STATES DISTRICT COURT
                                                                 for the
                                                      SOUTHERN DISTRICT OF FLORIDA

  DIGNA VINAS,                                                            )
                                                                          )
                    Plaintiff/Counter Defendant,                          )
                   v.                                                     ) Civil Action No. 18-cv-24100-COOKE/GOODMAN
                                                                          )
  THE INDEPENDENT ORDER                                                   )
  OF FORESTERS,                                                           )
                    Defendant/Counter Plaintiff.                          )
                                                                          )
                         SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                           OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To:      Humana Inc.
         c/o Corporation Service Company, as Registered Agent
         1201 Hays St.
         Tallahassee, FL 32301-2525
   Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: SEE ATTACHED EXHIBITS A AND B
      Place: 1201 Hays St.                                                         Date and Time: Wednesday, March 11, 2020 at 9:30am
             Tallahassee, FL 32301-2525


         □      Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or other
property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party may inspect,
measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                           Date and Time:



__________________________________________________________________________________________________
          The following provisions of Fed. R. Civ. P. 45 are attached- Rule 45(c) relating to the place of compliance; Rule 45 (d),
relating to your protection as a person subject to a subpoena; and Rule 45 (e) and (g), relating to your duty to respond to this subpoena
and the potential consequences of not doing so.

Date: ____2/19/2020                 _____
                               CLERK OF COURT                                           OR
                               __________________________________                                                    s/ Kristina B. Pett
                                        Signature of Clerk or Deputy Clerk                                          Attorney’s signature
____________________________________________________________________________________________________________

 The name, address, e-mail, and telephone number of the attorney representing (name party) The Independent Order of
Foresters, who issued or requested this subpoena, are:
                        Kristina B. Pett, Esq, McDowell Hetherington, LLP
                        2385 N.W. Executive Center Drive
                        Boca Raton, FL 33431; Kristina.Pettemhllp.com; (561) 994-4311
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  AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)
 Civil Action No. 18-cv-24100-COOKE/GOODMAN
                                                              PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

         I received this subpoena for (name of individual and title, if any)
         _______________________________________________________ on (date) ___________________________.
         □ I served the subpoena by delivering a copy to the named person as follows: ____________________________
         ___________________________________________________________________________________________
         __________________________________________________ on (date) ____________________ ; or
         □ I returned the subpoena unexecuted because: _____________________________________________________
         ___________________________________________________________________________________________.
         Unless the subpoena was issued on behalf of the United States, or one of its officer or agents, I have also
         tendered to the witness fees for one day’s attendance, and the mileage allowed by law, in the amount of
         $ __________________________.
My fees are $ ____________________ for travel and $ ________________ for services, for a total of $ ______________.


          I declare under penalty of perjury that this information is true.


Date: ___________________                                 _____________________________________________________________
                                                                                                      Server’s signature


                                                           ____________________________________________________________________
                                                                                       Printed name and title



                                                           ____________________________________________________________________
                                                                                         Server’s address


Additional information regarding attempted service, etc:




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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 3)

                         Federal Rule of Civil Procedure 45(c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                              the expert’s study that was not requested by a party.
 (1) For a Trial, Hearing or Deposition. A subpoena may command                         (C) Specifying Conditions as an Alternative. In the circumstances
a person to attend a trial, hearing, or deposition only as follows:                   described in Rule 45(d)(3)(B), the court may, instead of quashing or
   (A) within 100 miles of where the person resides, is employed, or                  modifying a subpoena, order appearance or production under
regularly transacts business in person; or                                            specified conditions if the serving party:
   (B) within the state where the person resides, is employed, or                          (i) shows a substantial need for the testimony or material that
regularly transacts business in person, if in person                                  cannot be otherwise met without undue hardship; and
            (i) is a party or a party’s officer; or                                        (ii) ensures that the subpoenaed person will be reasonably
            (ii) is commanded to attend a trial and would not incur                   compensated.
substantial expense.
  (2) For Other Discovery. A subpoena may command:                                    (e) Duties in Responding to a Subpoena.
    (A) production of documents, electronically stored information, or                  (1) Producing Documents or Electronically Stored Information.
tangible things at a place within 100 miles of where the person                       These procedures apply to producing documents or electronically
resident, is employed, or regularly transacts business in person; and                 stored information:
    (B) is commanded to attend a trial and would not incur substantial                    (A) Documents. A person responding to a subpoena to produce
expense.                                                                              documents must produce them as they are kept in the ordinary
                                                                                      course of business or must organize and label them to correspond to
 (d) Protecting a Person Subject to a Subpoena; Enforcement.                          the categories in the demand.
  (1) Avoiding Undue Burden or Expense; Sanctions. A party or                             (B) Form for Producing Electronically Stored Information Not
attorney responsible for issuing and serving a subpoena must take                     Specified. If a subpoena does not specify a form for producing
reasonable steps to avoid imposing undue burden or expense on a                       electronically stored information, the person responding must
person subject to the subpoena. The court for the district where                      produce it in a form or forms in which it is ordinarily maintained or
compliance is required must enforce this duty and impose an                           in a reasonably usable form or forms.
appropriate sanction — which may include lost earnings and                                (C) Electronically Stored Information Produced in Only One
reasonable attorney’s fees — on a party or attorney                                   Form. The person responding need not produce the same
who fails to comply.                                                                  electronically stored information in more than one form.
  (2) Command to Produce Materials or Permit Inspection.                                  (D) Inaccessible Electronically Stored Information. The person
    (A) Appearance Not Required. A person commanded to produce                        responding need not provide discovery of electronically stored
documents, electronically stored information, or tangible things, or                  information from sources that the person identifies as not reasonably
to permit the inspection of premises, need not appear in person at the                accessible because of undue burden or cost. On motion to compel
place of production or inspection unless also commanded to appear                     discovery or for a protective order, the person responding must show
for a deposition, hearing, or trial.                                                  that the information is not reasonably accessible because of undue
    (B) Objections. A person commanded to produce documents or                        burden or cost. If that showing is made, the court may nonetheless
tangible things or to permit inspection may serve on the party or                     order discovery from such sources if the requesting party shows
attorney designated in the subpoena a written objection to                            good cause, considering the limitations of Rule 26(b)(2)(C). The
inspecting, copying, testing or sampling any or all of the materials or               court may specify conditions for the discovery.
to inspecting the premises — or to producing electronically stored                     (2) Claiming Privilege or Protection.
information in the form or forms requested. The objection must be                         (A) Information Withheld. A person withholding subpoenaed
served before the earlier of the time specified for compliance or 14                  information under a claim that it is privileged or subject to
days after the subpoena is served. If an objection is made, the                       protection as trial-preparation material must:
following rules apply:                                                                     (i) expressly make the claim; and
     (i) At any time, on notice to the commanded person, the serving                       (ii) describe the nature of the withheld documents,
party may move the court for the district where compliance is                         communications, or tangible things in a manner that, without
required for an order compelling production or inspection.                            revealing information itself privileged or protected, will enable the
or inspection.                                                                        parties to assess the claim.
     (ii) These acts may be required only as directed in the order, and                   (B) Information Produced. If information produced in response to
the order must protect a person who is neither a party nor a party’s                  a subpoena is subject to a claim of privilege or of protection as trial-
officer from significant expense resulting from compliance.                           preparation material, the person making the claim may notify any
  (3) Quashing or Modifying a Subpoena.                                               party that received the information of the claim and the basis for it.
    (A) When Required. On timely motion, the court for the district                   After being notified, a party must promptly return, sequester, or
where compliance is required must quash or modify a subpoena that:                    destroy the specified information and any copies it has; must not use
     (i) fails to allow a reasonable time to comply;                                  or disclose the information until the claim is resolved; must take
     (ii) requires a person to comply beyond the geographical limits                  reasonable steps to retrieve the information if the party disclosed it
specified in Rule 45(c);                                                              before being notified; and may promptly present the information to
     (iii) requires disclosure of privileged or other protected matter, if            the court under seal for a determination of the claim. The person
no exception or waiver applies; or                                                    who produced the information must preserve the information until
     (iv) subjects a person to undue burden.                                          the claim is resolved.
(B) When Permitted. To protect a person subject to or affected by
a subpoena, the court for the district where compliance is required                   (g) Contempt.
may, on motion, quash or modify the subpoena if it requires:                          The court for the district where compliance is required—and also,
     (i) disclosing a trade secret or other confidential research,                    after a motion is transferred, the issuing court—may hold in contempt
development, or commercial information;                                               a person who, having been served, fails without adequate excuse to
     (ii) disclosing an unretained expert’s opinion or information that               obey the subpoena or an order related to it..
does not describe specific occurrences in dispute and results from

                                                                                3
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                                                             EXHIBIT A

         Your entire file relating to RIGOBERTO VINAS (the “patient”), including but not limited to:

                  1. Any and all documents including, but not limited to, applications for insurance coverage,
                     policies or benefits, underwriting files, claim files, benefit payments, all correspondence,
                     medical and financial records and reports, notices, and other documents relating in any manner
                     to applications by, insurance coverage for, or claims by the patient.

                                    MR. VINAS’ SOCIAL SECURITY NUMBER
                                      AND DATE OF BIRTH ARE PROVIDED
                                         IN THE ATTACHED LETTER
                                 (SEE EXHIBIT B FOR CONTACT INFORMATION)


PLEASE BE ADVISED this subpoena conforms with the Standards for Privacy of Individually Identifiable Health Information and
Health Insurance Portability and Accountability Act of 1996 (HIPAA) in that it provides written assurances pursuant to 45 C.F.R. Sec.
164.512(e). By service of this Subpoena on Plaintiff’s attorney, Defendant hereby makes reasonable efforts to give Plaintiff notice of
this request and an opportunity to object. If Plaintiff makes no objection prior to the date of production and inspection identified herein,
the covered entity subject to this Subpoena shall disclose the requested protected health information.
Case 1:18-cv-24100-MGC Document 61-3 Entered on FLSD Docket 03/24/2020 Page 15 of 55

                                            EXHIBIT B



    1.    Produce the information requested in the following manner:

          a.     Photocopy the described information and mail or E-mail it to:

                 Brenda Kronzek, Paralegal
                 McDowell Hetherington, LLP
                 2385 NW Executive Center Drive
                 Suite 400
                 Boca Raton, FL 33431
                 (561) 430-3023
                 (561) 982-8985 (facsimile)
                 Brenda.Kronzek@mhllp.com




                                                 5
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                                    CERTIFICATE OF SERVICE

    I certify that on February 19, 2020, a copy of this document was served via e-mail on:

                          Craig M. Greene, Esq.
                          Kramer Green Zuckerman Greene & Buchsbaum, P.A.
                          4000 Hollywood Blvd.
                          Suite 485-S
                          Hollywood, FL 33021
                          cgreene@kramergreen.com

                          Adrian Neiman Arkin, Esq.
                          Mintz Truppman, P.A.
                          1700 Sans Souci Blvd.
                          North Miami, FL 33181
                          adrian@mintztruppman.com


                                  s/ Kristina B. Pett
                                  Kristina B. Pett
                                  MCDOWELL HETHERINGTON, LLP
                                  Attorneys for Defendant
                                  2385 N.W. Executive Center Drive, Suite 400
                                  Boca Raton, FL 33431
                                  (561) 994-4311
                                  (561) 982-8985 fax




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Case 1:18-cv-24100-MGC Document 61-3 Entered on FLSD Docket 03/24/2020 Page 17 of 55
  Case 1:18-cv-24100-MGC Document 61-3 Entered on FLSD Docket 03/24/2020 Page 18 of 55
  AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action

                                          UNITED STATES DISTRICT COURT
                                                                 for the
                                                      SOUTHERN DISTRICT OF FLORIDA

  DIGNA VINAS,                                                            )
                                                                          )
                    Plaintiff/Counter Defendant,                          )
                   v.                                                     ) Civil Action No. 18-cv-24100-COOKE/GOODMAN
                                                                          )
  THE INDEPENDENT ORDER                                                   )
  OF FORESTERS,                                                           )
                    Defendant/Counter Plaintiff.                          )
                                                                          )
                         SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                           OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To:      Kendall Regional Medical Center
         HIM Shared Services-Centralized Release of Information
         6451 126th Ave. N.
         Largo, FL 33773
   Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: SEE ATTACHED EXHIBITS A AND B
      Place: 6451 126th Ave. N.                                                    Date and Time: Wednesday, March 11, 2020 at 10:30am
             Largo, FL 33773


         □      Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or other
property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party may inspect,
measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                           Date and Time:



__________________________________________________________________________________________________
          The following provisions of Fed. R. Civ. P. 45 are attached- Rule 45(c) relating to the place of compliance; Rule 45 (d),
relating to your protection as a person subject to a subpoena; and Rule 45 (e) and (g), relating to your duty to respond to this subpoena
and the potential consequences of not doing so.

Date: ____ 2/19/2020                _____
                               CLERK OF COURT                                           OR
                               __________________________________                                                    s/ Kristina B. Pett
                                        Signature of Clerk or Deputy Clerk                                          Attorney’s signature
____________________________________________________________________________________________________________

 The name, address, e-mail, and telephone number of the attorney representing (name party) The Independent Order of
Foresters, who issued or requested this subpoena, are:
                        Kristina B. Pett, Esq, McDowell Hetherington, LLP
                        2385 N.W. Executive Center Drive
                        Boca Raton, FL 33431; Kristina.Pettemhllp.com; (561) 994-4311
 Case 1:18-cv-24100-MGC Document 61-3 Entered on FLSD Docket 03/24/2020 Page 19 of 55

  AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)
 Civil Action No. 18-cv-24100-COOKE/GOODMAN
                                                              PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

         I received this subpoena for (name of individual and title, if any)
         _______________________________________________________ on (date) ___________________________.
         □ I served the subpoena by delivering a copy to the named person as follows: ____________________________
         ___________________________________________________________________________________________
         __________________________________________________ on (date) ____________________ ; or
         □ I returned the subpoena unexecuted because: _____________________________________________________
         ___________________________________________________________________________________________.
         Unless the subpoena was issued on behalf of the United States, or one of its officer or agents, I have also
         tendered to the witness fees for one day’s attendance, and the mileage allowed by law, in the amount of
         $ __________________________.
My fees are $ ____________________ for travel and $ ________________ for services, for a total of $ ______________.


          I declare under penalty of perjury that this information is true.


Date: ___________________                                 _____________________________________________________________
                                                                                                      Server’s signature


                                                           ____________________________________________________________________
                                                                                       Printed name and title



                                                           ____________________________________________________________________
                                                                                         Server’s address


Additional information regarding attempted service, etc:




                                                                               2
  Case 1:18-cv-24100-MGC Document 61-3 Entered on FLSD Docket 03/24/2020 Page 20 of 55
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 3)

                         Federal Rule of Civil Procedure 45(c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                              the expert’s study that was not requested by a party.
 (1) For a Trial, Hearing or Deposition. A subpoena may command                         (C) Specifying Conditions as an Alternative. In the circumstances
a person to attend a trial, hearing, or deposition only as follows:                   described in Rule 45(d)(3)(B), the court may, instead of quashing or
   (A) within 100 miles of where the person resides, is employed, or                  modifying a subpoena, order appearance or production under
regularly transacts business in person; or                                            specified conditions if the serving party:
   (B) within the state where the person resides, is employed, or                          (i) shows a substantial need for the testimony or material that
regularly transacts business in person, if in person                                  cannot be otherwise met without undue hardship; and
            (i) is a party or a party’s officer; or                                        (ii) ensures that the subpoenaed person will be reasonably
            (ii) is commanded to attend a trial and would not incur                   compensated.
substantial expense.
  (2) For Other Discovery. A subpoena may command:                                    (e) Duties in Responding to a Subpoena.
    (A) production of documents, electronically stored information, or                  (1) Producing Documents or Electronically Stored Information.
tangible things at a place within 100 miles of where the person                       These procedures apply to producing documents or electronically
resident, is employed, or regularly transacts business in person; and                 stored information:
    (B) is commanded to attend a trial and would not incur substantial                    (A) Documents. A person responding to a subpoena to produce
expense.                                                                              documents must produce them as they are kept in the ordinary
                                                                                      course of business or must organize and label them to correspond to
 (d) Protecting a Person Subject to a Subpoena; Enforcement.                          the categories in the demand.
  (1) Avoiding Undue Burden or Expense; Sanctions. A party or                             (B) Form for Producing Electronically Stored Information Not
attorney responsible for issuing and serving a subpoena must take                     Specified. If a subpoena does not specify a form for producing
reasonable steps to avoid imposing undue burden or expense on a                       electronically stored information, the person responding must
person subject to the subpoena. The court for the district where                      produce it in a form or forms in which it is ordinarily maintained or
compliance is required must enforce this duty and impose an                           in a reasonably usable form or forms.
appropriate sanction — which may include lost earnings and                                (C) Electronically Stored Information Produced in Only One
reasonable attorney’s fees — on a party or attorney                                   Form. The person responding need not produce the same
who fails to comply.                                                                  electronically stored information in more than one form.
  (2) Command to Produce Materials or Permit Inspection.                                  (D) Inaccessible Electronically Stored Information. The person
    (A) Appearance Not Required. A person commanded to produce                        responding need not provide discovery of electronically stored
documents, electronically stored information, or tangible things, or                  information from sources that the person identifies as not reasonably
to permit the inspection of premises, need not appear in person at the                accessible because of undue burden or cost. On motion to compel
place of production or inspection unless also commanded to appear                     discovery or for a protective order, the person responding must show
for a deposition, hearing, or trial.                                                  that the information is not reasonably accessible because of undue
    (B) Objections. A person commanded to produce documents or                        burden or cost. If that showing is made, the court may nonetheless
tangible things or to permit inspection may serve on the party or                     order discovery from such sources if the requesting party shows
attorney designated in the subpoena a written objection to                            good cause, considering the limitations of Rule 26(b)(2)(C). The
inspecting, copying, testing or sampling any or all of the materials or               court may specify conditions for the discovery.
to inspecting the premises — or to producing electronically stored                     (2) Claiming Privilege or Protection.
information in the form or forms requested. The objection must be                         (A) Information Withheld. A person withholding subpoenaed
served before the earlier of the time specified for compliance or 14                  information under a claim that it is privileged or subject to
days after the subpoena is served. If an objection is made, the                       protection as trial-preparation material must:
following rules apply:                                                                     (i) expressly make the claim; and
     (i) At any time, on notice to the commanded person, the serving                       (ii) describe the nature of the withheld documents,
party may move the court for the district where compliance is                         communications, or tangible things in a manner that, without
required for an order compelling production or inspection.                            revealing information itself privileged or protected, will enable the
or inspection.                                                                        parties to assess the claim.
     (ii) These acts may be required only as directed in the order, and                   (B) Information Produced. If information produced in response to
the order must protect a person who is neither a party nor a party’s                  a subpoena is subject to a claim of privilege or of protection as trial-
officer from significant expense resulting from compliance.                           preparation material, the person making the claim may notify any
  (3) Quashing or Modifying a Subpoena.                                               party that received the information of the claim and the basis for it.
    (A) When Required. On timely motion, the court for the district                   After being notified, a party must promptly return, sequester, or
where compliance is required must quash or modify a subpoena that:                    destroy the specified information and any copies it has; must not use
     (i) fails to allow a reasonable time to comply;                                  or disclose the information until the claim is resolved; must take
     (ii) requires a person to comply beyond the geographical limits                  reasonable steps to retrieve the information if the party disclosed it
specified in Rule 45(c);                                                              before being notified; and may promptly present the information to
     (iii) requires disclosure of privileged or other protected matter, if            the court under seal for a determination of the claim. The person
no exception or waiver applies; or                                                    who produced the information must preserve the information until
     (iv) subjects a person to undue burden.                                          the claim is resolved.
(B) When Permitted. To protect a person subject to or affected by
a subpoena, the court for the district where compliance is required                   (g) Contempt.
may, on motion, quash or modify the subpoena if it requires:                          The court for the district where compliance is required—and also,
     (i) disclosing a trade secret or other confidential research,                    after a motion is transferred, the issuing court—may hold in contempt
development, or commercial information;                                               a person who, having been served, fails without adequate excuse to
     (ii) disclosing an unretained expert’s opinion or information that               obey the subpoena or an order related to it..
does not describe specific occurrences in dispute and results from

                                                                                3
  Case 1:18-cv-24100-MGC Document 61-3 Entered on FLSD Docket 03/24/2020 Page 21 of 55

                                                             EXHIBIT A

         Your entire file relating to RIGOBERTO VINAS (the “patient”), including but not limited to:

         1.       Intake and/or new patient forms.

         2.       Admissions and discharge summaries, medical histories, physical and mental examination
                  records, operative reports, progress notes, notations by physicians, nurse notes, diagnoses
                  reports, raw test data and results, laboratory reports, pathology slides, and tissue studies.

         3.       Any and all records obtained or received from other health care practitioners relating to the
                  patient.

         4.       All actual tests including but not limited to X-ray films, imaging proofs, MRI, CAT scans,
                  EKG studies, and EEG’s. (Please provide us with an estimate of your charges prior to
                  copying films).

         5.       Insurance claim forms and other documentation relating to insurance claims filed
                  concerning treatment provided to the patient.

         6.       Prescription logs.

         7.       Telephone logs documenting conversations with the patient and/or other persons on the
                  patient’s behalf.

         8.       Diaries or other records provided by the patient relating to the patient’s condition and/or
                  symptoms.

         9.       Correspondence with the patient and/or someone on the patient’s behalf relating to a claim
                  for disability benefits.

         10.      All correspondence sent or received concerning the patient.

         11.      Any other records, reports, summaries, correspondence or written documentation relating
                  in any way to the patient’s mental, physical or emotional condition, health or medical
                  treatment.


                                    MR. VINAS’ SOCIAL SECURITY NUMBER
                                      AND DATE OF BIRTH ARE PROVIDED
                                         IN THE ATTACHED LETTER
                                 (SEE EXHIBIT B FOR CONTACT INFORMATION)


PLEASE BE ADVISED this subpoena conforms with the Standards for Privacy of Individually Identifiable Health Information and
Health Insurance Portability and Accountability Act of 1996 (HIPAA) in that it provides written assurances pursuant to 45 C.F.R. Sec.
164.512(e). By service of this Subpoena on Plaintiff’s attorney, Defendant hereby makes reasonable efforts to give Plaintiff notice of
this request and an opportunity to object. If Plaintiff makes no objection prior to the date of production and inspection identified herein,
the covered entity subject to this Subpoena shall disclose the requested protected health information.
Case 1:18-cv-24100-MGC Document 61-3 Entered on FLSD Docket 03/24/2020 Page 22 of 55

                                            EXHIBIT B



    1.    Produce the information requested in the following manner:

          a.     Photocopy the described information and mail or E-mail it to:

                 Brenda Kronzek, Paralegal
                 McDowell Hetherington, LLP
                 2385 NW Executive Center Drive
                 Suite 400
                 Boca Raton, FL 33431
                 (561) 430-3023
                 (561) 982-8985 (facsimile)
                 Brenda.Kronzek@mhllp.com




                                                 5
Case 1:18-cv-24100-MGC Document 61-3 Entered on FLSD Docket 03/24/2020 Page 23 of 55

                                    CERTIFICATE OF SERVICE

    I certify that on February 19, 2020, a copy of this document was served via e-mail on:

                          Craig M. Greene, Esq.
                          Kramer Green Zuckerman Greene & Buchsbaum, P.A.
                          4000 Hollywood Blvd.
                          Suite 485-S
                          Hollywood, FL 33021
                          cgreene@kramergreen.com

                          Adrian Neiman Arkin, Esq.
                          Mintz Truppman, P.A.
                          1700 Sans Souci Blvd.
                          North Miami, FL 33181
                          adrian@mintztruppman.com


                                  s/ Kristina B. Pett
                                  Kristina B. Pett
                                  MCDOWELL HETHERINGTON, LLP
                                  Attorneys for Defendant
                                  2385 N.W. Executive Center Drive, Suite 400
                                  Boca Raton, FL 33431
                                  (561) 994-4311
                                  (561) 982-8985 fax




                                                        6
Case 1:18-cv-24100-MGC Document 61-3 Entered on FLSD Docket 03/24/2020 Page 24 of 55
  Case 1:18-cv-24100-MGC Document 61-3 Entered on FLSD Docket 03/24/2020 Page 25 of 55
  AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action

                                          UNITED STATES DISTRICT COURT
                                                                 for the
                                                      SOUTHERN DISTRICT OF FLORIDA

  DIGNA VINAS,                                                            )
                                                                          )
                    Plaintiff/Counter Defendant,                          )
                   v.                                                     ) Civil Action No. 18-cv-24100-COOKE/GOODMAN
                                                                          )
  THE INDEPENDENT ORDER                                                   )
  OF FORESTERS,                                                           )
                    Defendant/Counter Plaintiff.                          )
                                                                          )
                         SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                           OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To:      South Florida Diagnostic Imaging
         c/o Records Custodian
         11801 SW 90 St., Suite 102
         Miami, FL 33186
   Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: SEE ATTACHED EXHIBITS A AND B
      Place: 11801 SW 90 St., Suite 102                                            Date and Time: Wednesday, March 11, 2020 at 11:00am
             Miami, FL 33186


         □      Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or other
property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party may inspect,
measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                           Date and Time:



__________________________________________________________________________________________________
          The following provisions of Fed. R. Civ. P. 45 are attached- Rule 45(c) relating to the place of compliance; Rule 45 (d),
relating to your protection as a person subject to a subpoena; and Rule 45 (e) and (g), relating to your duty to respond to this subpoena
and the potential consequences of not doing so.

Date: ___2/19/2020_                 _____
                               CLERK OF COURT                                           OR
                               __________________________________                                                    s/ Kristina B. Pett
                                        Signature of Clerk or Deputy Clerk                                          Attorney’s signature
____________________________________________________________________________________________________________

 The name, address, e-mail, and telephone number of the attorney representing (name party) The Independent Order of
Foresters, who issued or requested this subpoena, are:
                        Kristina B. Pett, Esq, McDowell Hetherington, LLP
                        2385 N.W. Executive Center Drive
                        Boca Raton, FL 33431; Kristina.Pettemhllp.com; (561) 994-4311
 Case 1:18-cv-24100-MGC Document 61-3 Entered on FLSD Docket 03/24/2020 Page 26 of 55

  AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)
 Civil Action No. 18-cv-24100-COOKE/GOODMAN
                                                              PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

         I received this subpoena for (name of individual and title, if any)
         _______________________________________________________ on (date) ___________________________.
         □ I served the subpoena by delivering a copy to the named person as follows: ____________________________
         ___________________________________________________________________________________________
         __________________________________________________ on (date) ____________________ ; or
         □ I returned the subpoena unexecuted because: _____________________________________________________
         ___________________________________________________________________________________________.
         Unless the subpoena was issued on behalf of the United States, or one of its officer or agents, I have also
         tendered to the witness fees for one day’s attendance, and the mileage allowed by law, in the amount of
         $ __________________________.
My fees are $ ____________________ for travel and $ ________________ for services, for a total of $ ______________.


          I declare under penalty of perjury that this information is true.


Date: ___________________                                 _____________________________________________________________
                                                                                                      Server’s signature


                                                           ____________________________________________________________________
                                                                                       Printed name and title



                                                           ____________________________________________________________________
                                                                                         Server’s address


Additional information regarding attempted service, etc:




                                                                               2
  Case 1:18-cv-24100-MGC Document 61-3 Entered on FLSD Docket 03/24/2020 Page 27 of 55
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 3)

                         Federal Rule of Civil Procedure 45(c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                              the expert’s study that was not requested by a party.
 (1) For a Trial, Hearing or Deposition. A subpoena may command                         (C) Specifying Conditions as an Alternative. In the circumstances
a person to attend a trial, hearing, or deposition only as follows:                   described in Rule 45(d)(3)(B), the court may, instead of quashing or
   (A) within 100 miles of where the person resides, is employed, or                  modifying a subpoena, order appearance or production under
regularly transacts business in person; or                                            specified conditions if the serving party:
   (B) within the state where the person resides, is employed, or                          (i) shows a substantial need for the testimony or material that
regularly transacts business in person, if in person                                  cannot be otherwise met without undue hardship; and
            (i) is a party or a party’s officer; or                                        (ii) ensures that the subpoenaed person will be reasonably
            (ii) is commanded to attend a trial and would not incur                   compensated.
substantial expense.
  (2) For Other Discovery. A subpoena may command:                                    (e) Duties in Responding to a Subpoena.
    (A) production of documents, electronically stored information, or                  (1) Producing Documents or Electronically Stored Information.
tangible things at a place within 100 miles of where the person                       These procedures apply to producing documents or electronically
resident, is employed, or regularly transacts business in person; and                 stored information:
    (B) is commanded to attend a trial and would not incur substantial                    (A) Documents. A person responding to a subpoena to produce
expense.                                                                              documents must produce them as they are kept in the ordinary
                                                                                      course of business or must organize and label them to correspond to
 (d) Protecting a Person Subject to a Subpoena; Enforcement.                          the categories in the demand.
  (1) Avoiding Undue Burden or Expense; Sanctions. A party or                             (B) Form for Producing Electronically Stored Information Not
attorney responsible for issuing and serving a subpoena must take                     Specified. If a subpoena does not specify a form for producing
reasonable steps to avoid imposing undue burden or expense on a                       electronically stored information, the person responding must
person subject to the subpoena. The court for the district where                      produce it in a form or forms in which it is ordinarily maintained or
compliance is required must enforce this duty and impose an                           in a reasonably usable form or forms.
appropriate sanction — which may include lost earnings and                                (C) Electronically Stored Information Produced in Only One
reasonable attorney’s fees — on a party or attorney                                   Form. The person responding need not produce the same
who fails to comply.                                                                  electronically stored information in more than one form.
  (2) Command to Produce Materials or Permit Inspection.                                  (D) Inaccessible Electronically Stored Information. The person
    (A) Appearance Not Required. A person commanded to produce                        responding need not provide discovery of electronically stored
documents, electronically stored information, or tangible things, or                  information from sources that the person identifies as not reasonably
to permit the inspection of premises, need not appear in person at the                accessible because of undue burden or cost. On motion to compel
place of production or inspection unless also commanded to appear                     discovery or for a protective order, the person responding must show
for a deposition, hearing, or trial.                                                  that the information is not reasonably accessible because of undue
    (B) Objections. A person commanded to produce documents or                        burden or cost. If that showing is made, the court may nonetheless
tangible things or to permit inspection may serve on the party or                     order discovery from such sources if the requesting party shows
attorney designated in the subpoena a written objection to                            good cause, considering the limitations of Rule 26(b)(2)(C). The
inspecting, copying, testing or sampling any or all of the materials or               court may specify conditions for the discovery.
to inspecting the premises — or to producing electronically stored                     (2) Claiming Privilege or Protection.
information in the form or forms requested. The objection must be                         (A) Information Withheld. A person withholding subpoenaed
served before the earlier of the time specified for compliance or 14                  information under a claim that it is privileged or subject to
days after the subpoena is served. If an objection is made, the                       protection as trial-preparation material must:
following rules apply:                                                                     (i) expressly make the claim; and
     (i) At any time, on notice to the commanded person, the serving                       (ii) describe the nature of the withheld documents,
party may move the court for the district where compliance is                         communications, or tangible things in a manner that, without
required for an order compelling production or inspection.                            revealing information itself privileged or protected, will enable the
or inspection.                                                                        parties to assess the claim.
     (ii) These acts may be required only as directed in the order, and                   (B) Information Produced. If information produced in response to
the order must protect a person who is neither a party nor a party’s                  a subpoena is subject to a claim of privilege or of protection as trial-
officer from significant expense resulting from compliance.                           preparation material, the person making the claim may notify any
  (3) Quashing or Modifying a Subpoena.                                               party that received the information of the claim and the basis for it.
    (A) When Required. On timely motion, the court for the district                   After being notified, a party must promptly return, sequester, or
where compliance is required must quash or modify a subpoena that:                    destroy the specified information and any copies it has; must not use
     (i) fails to allow a reasonable time to comply;                                  or disclose the information until the claim is resolved; must take
     (ii) requires a person to comply beyond the geographical limits                  reasonable steps to retrieve the information if the party disclosed it
specified in Rule 45(c);                                                              before being notified; and may promptly present the information to
     (iii) requires disclosure of privileged or other protected matter, if            the court under seal for a determination of the claim. The person
no exception or waiver applies; or                                                    who produced the information must preserve the information until
     (iv) subjects a person to undue burden.                                          the claim is resolved.
(B) When Permitted. To protect a person subject to or affected by
a subpoena, the court for the district where compliance is required                   (g) Contempt.
may, on motion, quash or modify the subpoena if it requires:                          The court for the district where compliance is required—and also,
     (i) disclosing a trade secret or other confidential research,                    after a motion is transferred, the issuing court—may hold in contempt
development, or commercial information;                                               a person who, having been served, fails without adequate excuse to
     (ii) disclosing an unretained expert’s opinion or information that               obey the subpoena or an order related to it..
does not describe specific occurrences in dispute and results from

                                                                                3
  Case 1:18-cv-24100-MGC Document 61-3 Entered on FLSD Docket 03/24/2020 Page 28 of 55

                                                             EXHIBIT A

         Your entire file relating to RIGOBERTO VINAS (the “patient”), including but not limited to:

         1.       Intake and/or new patient forms.

         2.       Admissions and discharge summaries, medical histories, physical and mental examination
                  records, operative reports, progress notes, notations by physicians, nurse notes, diagnoses
                  reports, raw test data and results, laboratory reports, pathology slides, and tissue studies.

         3.       Any and all records obtained or received from other health care practitioners relating to the
                  patient.

         4.       All actual tests including but not limited to X-ray films, imaging proofs, MRI, CAT scans,
                  EKG studies, and EEG’s. (Please provide us with an estimate of your charges prior to
                  copying films).

         5.       Insurance claim forms and other documentation relating to insurance claims filed
                  concerning treatment provided to the patient.

         6.       Prescription logs.

         7.       Telephone logs documenting conversations with the patient and/or other persons on the
                  patient’s behalf.

         8.       Diaries or other records provided by the patient relating to the patient’s condition and/or
                  symptoms.

         9.       Correspondence with the patient and/or someone on the patient’s behalf relating to a claim
                  for disability benefits.

         10.      All correspondence sent or received concerning the patient.

         11.      Any other records, reports, summaries, correspondence or written documentation relating
                  in any way to the patient’s mental, physical or emotional condition, health or medical
                  treatment.


                                    MR. VINAS’ SOCIAL SECURITY NUMBER
                                      AND DATE OF BIRTH ARE PROVIDED
                                         IN THE ATTACHED LETTER
                                 (SEE EXHIBIT B FOR CONTACT INFORMATION)


PLEASE BE ADVISED this subpoena conforms with the Standards for Privacy of Individually Identifiable Health Information and
Health Insurance Portability and Accountability Act of 1996 (HIPAA) in that it provides written assurances pursuant to 45 C.F.R. Sec.
164.512(e). By service of this Subpoena on Plaintiff’s attorney, Defendant hereby makes reasonable efforts to give Plaintiff notice of
this request and an opportunity to object. If Plaintiff makes no objection prior to the date of production and inspection identified herein,
the covered entity subject to this Subpoena shall disclose the requested protected health information.
Case 1:18-cv-24100-MGC Document 61-3 Entered on FLSD Docket 03/24/2020 Page 29 of 55

                                            EXHIBIT B



    1.    Produce the information requested in the following manner:

          a.     Photocopy the described information and mail or E-mail it to:

                 Brenda Kronzek, Paralegal
                 McDowell Hetherington, LLP
                 2385 NW Executive Center Drive
                 Suite 400
                 Boca Raton, FL 33431
                 (561) 430-3023
                 (561) 982-8985 (facsimile)
                 Brenda.Kronzek@mhllp.com




                                                 5
Case 1:18-cv-24100-MGC Document 61-3 Entered on FLSD Docket 03/24/2020 Page 30 of 55

                                    CERTIFICATE OF SERVICE

    I certify that on February 19, 2020, a copy of this document was served via e-mail on:

                          Craig M. Greene, Esq.
                          Kramer Green Zuckerman Greene & Buchsbaum, P.A.
                          4000 Hollywood Blvd.
                          Suite 485-S
                          Hollywood, FL 33021
                          cgreene@kramergreen.com

                          Adrian Neiman Arkin, Esq.
                          Mintz Truppman, P.A.
                          1700 Sans Souci Blvd.
                          North Miami, FL 33181
                          adrian@mintztruppman.com


                                  s/ Kristina B. Pett
                                  Kristina B. Pett
                                  MCDOWELL HETHERINGTON, LLP
                                  Attorneys for Defendant
                                  2385 N.W. Executive Center Drive, Suite 400
                                  Boca Raton, FL 33431
                                  (561) 994-4311
                                  (561) 982-8985 fax




                                                        6
Case 1:18-cv-24100-MGC Document 61-3 Entered on FLSD Docket 03/24/2020 Page 31 of 55
Case 1:18-cv-24100-MGC Document 61-3 Entered on FLSD Docket 03/24/2020 Page 32 of 55




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                           CASE NO. 18-CV-24100-COOKE/GOODMAN


    DIGNA VINAS,

                  Plaintiff/Counter Defendant,

    v.

    THE INDEPENDENT ORDER
    OF FORESTERS,

                Defendant/Counter Plaintiff.
    ___________________________________/

               NOTICE OF ISSUANCE OF NON-PARTY AMENDED SUBPOENA

    TO: Craig M. Greene, Esq.
        Kramer Green Zuckerman Greene & Buchsbaum, P.A.
        4000 Hollywood Blvd.
        Suite 485-S
        Hollywood, FL 33021

         Adrian Neiman Arkin, Esq.
         Mintz Truppman, P.A.
         1700 Sans Souci Blvd.
         North Miami, FL 33181


    PLEASE TAKE NOTICE that the undersigned counsel has issued an Amended Subpoena to

    produce documents, information, or objects pursuant to Federal Rule of Civil Procedure 45, true

    and correct copies which are attached, that command the production of documents and things

    described therein. Said Subpoena is being served upon:


                         Kendall Regional Medical Center
                         Attn: Department Records Custodian
                         11750 SW Bird Rd.
                         Miami, FL 33175
Case 1:18-cv-24100-MGC Document 61-3 Entered on FLSD Docket 03/24/2020 Page 33 of 55




    In accordance with the subpoena, The Independent Order of Foresters has requested that the

    above listed non-parties produce records as directed in the subpoena.



    Dated: March 3, 2020.                MCDOWELL HETHERINGTON LLP
                                         Attorneys for Defendant/Counter Plaintiff
                                         2101 N.W. Corporate Blvd., Suite 316
                                         Boca Raton, FL 33431
                                         (561) 994-4311
                                         (561) 982-8985 fax




                                         By: s/Kristina B. Pett
                                         KRISTINA B. PETT
                                         Fla. Bar No. 0973688
                                         kristina.pett@mhllp.com




                                                    2
Case 1:18-cv-24100-MGC Document 61-3 Entered on FLSD Docket 03/24/2020 Page 34 of 55




                                  CERTIFICATE OF SERVICE

          I certify that on March 3, 2020, I served a copy of this document on the following:

                                Craig M. Greene, Esq.
                                Kramer Green Zuckerman Greene & Buchsbaum, P.A.
                                4000 Hollywood Blvd.
                                Suite 485-S
                                Hollywood, FL 33021
                                cgreene@kramergreen.com
                                Counsel for Plaintiff/Counter Defendant

                                Adrian Neiman Arkin, Esq.
                                Mintz Truppman, P.A.
                                1700 Sans Souci Blvd.
                                North Miami, FL 33181
                                adrian@mintztruppman.com
                                Co-Counsel for Plaintiff/Counter Defendant


                                        s/Kristina B. Pett
                                        Kristina B. Pett




                                                   3
  Case 1:18-cv-24100-MGC Document 61-3 Entered on FLSD Docket 03/24/2020 Page 35 of 55
  AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action

                                          UNITED STATES DISTRICT COURT
                                                                 for the
                                                      SOUTHERN DISTRICT OF FLORIDA

  DIGNA VINAS,                                                            )
                                                                          )
                    Plaintiff/Counter Defendant,                          )
                   v.                                                     ) Civil Action No. 18-cv-24100-COOKE/GOODMAN
                                                                          )
  THE INDEPENDENT ORDER                                                   )
  OF FORESTERS,                                                           )
                    Defendant/Counter Plaintiff.                          )
                                                                          )
                AMENDED SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                      OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To:      Kendall Regional Medical Center
         Attn: Department Records Custodian
         11750 SW Bird Rd.
         Miami, FL 33175

 Production:     YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: SEE ATTACHED EXHIBITS A AND B
      Place: 6451 126th Ave. N.                                                    Date and Time: Wednesday, March 18, 2020 at 10:30am
             Largo, FL 33773


         □      Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or other
property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party may inspect,
measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                           Date and Time:



__________________________________________________________________________________________________
          The following provisions of Fed. R. Civ. P. 45 are attached- Rule 45(c) relating to the place of compliance; Rule 45 (d),
relating to your protection as a person subject to a subpoena; and Rule 45 (e) and (g), relating to your duty to respond to this subpoena
and the potential consequences of not doing so.

Date: ____              _____
                               CLERK OF COURT                                           OR
                               __________________________________                                                                          _
                                        Signature of Clerk or Deputy Clerk                                          Attorney’s signature
____________________________________________________________________________________________________________

 The name, address, e-mail, and telephone number of the attorney representing (name party) The Independent Order of
Foresters, who issued or requested this subpoena, are:
                        Kristina B. Pett, Esq, McDowell Hetherington, LLP
                        2385 N.W. Executive Center Drive
                        Boca Raton, FL 33431; Kristina.Pett@mhllp.com; (561) 994-4311
 Case 1:18-cv-24100-MGC Document 61-3 Entered on FLSD Docket 03/24/2020 Page 36 of 55

  AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)
 Civil Action No. 18-cv-24100-COOKE/GOODMAN
                                                              PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

         I received this subpoena for (name of individual and title, if any)
         _______________________________________________________ on (date) ___________________________.
         □ I served the subpoena by delivering a copy to the named person as follows: ____________________________
         ___________________________________________________________________________________________
         __________________________________________________ on (date) ____________________ ; or
         □ I returned the subpoena unexecuted because: _____________________________________________________
         ___________________________________________________________________________________________.
         Unless the subpoena was issued on behalf of the United States, or one of its officer or agents, I have also
         tendered to the witness fees for one day’s attendance, and the mileage allowed by law, in the amount of
         $ __________________________.
My fees are $ ____________________ for travel and $ ________________ for services, for a total of $ ______________.


          I declare under penalty of perjury that this information is true.


Date: ___________________                                 _____________________________________________________________
                                                                                                      Server’s signature


                                                           ____________________________________________________________________
                                                                                       Printed name and title



                                                           ____________________________________________________________________
                                                                                         Server’s address


Additional information regarding attempted service, etc:




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  Case 1:18-cv-24100-MGC Document 61-3 Entered on FLSD Docket 03/24/2020 Page 37 of 55
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 3)

                         Federal Rule of Civil Procedure 45(c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                              the expert’s study that was not requested by a party.
 (1) For a Trial, Hearing or Deposition. A subpoena may command                         (C) Specifying Conditions as an Alternative. In the circumstances
a person to attend a trial, hearing, or deposition only as follows:                   described in Rule 45(d)(3)(B), the court may, instead of quashing or
   (A) within 100 miles of where the person resides, is employed, or                  modifying a subpoena, order appearance or production under
regularly transacts business in person; or                                            specified conditions if the serving party:
   (B) within the state where the person resides, is employed, or                          (i) shows a substantial need for the testimony or material that
regularly transacts business in person, if in person                                  cannot be otherwise met without undue hardship; and
            (i) is a party or a party’s officer; or                                        (ii) ensures that the subpoenaed person will be reasonably
            (ii) is commanded to attend a trial and would not incur                   compensated.
substantial expense.
  (2) For Other Discovery. A subpoena may command:                                    (e) Duties in Responding to a Subpoena.
    (A) production of documents, electronically stored information, or                  (1) Producing Documents or Electronically Stored Information.
tangible things at a place within 100 miles of where the person                       These procedures apply to producing documents or electronically
resident, is employed, or regularly transacts business in person; and                 stored information:
    (B) is commanded to attend a trial and would not incur substantial                    (A) Documents. A person responding to a subpoena to produce
expense.                                                                              documents must produce them as they are kept in the ordinary
                                                                                      course of business or must organize and label them to correspond to
 (d) Protecting a Person Subject to a Subpoena; Enforcement.                          the categories in the demand.
  (1) Avoiding Undue Burden or Expense; Sanctions. A party or                             (B) Form for Producing Electronically Stored Information Not
attorney responsible for issuing and serving a subpoena must take                     Specified. If a subpoena does not specify a form for producing
reasonable steps to avoid imposing undue burden or expense on a                       electronically stored information, the person responding must
person subject to the subpoena. The court for the district where                      produce it in a form or forms in which it is ordinarily maintained or
compliance is required must enforce this duty and impose an                           in a reasonably usable form or forms.
appropriate sanction — which may include lost earnings and                                (C) Electronically Stored Information Produced in Only One
reasonable attorney’s fees — on a party or attorney                                   Form. The person responding need not produce the same
who fails to comply.                                                                  electronically stored information in more than one form.
  (2) Command to Produce Materials or Permit Inspection.                                  (D) Inaccessible Electronically Stored Information. The person
    (A) Appearance Not Required. A person commanded to produce                        responding need not provide discovery of electronically stored
documents, electronically stored information, or tangible things, or                  information from sources that the person identifies as not reasonably
to permit the inspection of premises, need not appear in person at the                accessible because of undue burden or cost. On motion to compel
place of production or inspection unless also commanded to appear                     discovery or for a protective order, the person responding must show
for a deposition, hearing, or trial.                                                  that the information is not reasonably accessible because of undue
    (B) Objections. A person commanded to produce documents or                        burden or cost. If that showing is made, the court may nonetheless
tangible things or to permit inspection may serve on the party or                     order discovery from such sources if the requesting party shows
attorney designated in the subpoena a written objection to                            good cause, considering the limitations of Rule 26(b)(2)(C). The
inspecting, copying, testing or sampling any or all of the materials or               court may specify conditions for the discovery.
to inspecting the premises — or to producing electronically stored                     (2) Claiming Privilege or Protection.
information in the form or forms requested. The objection must be                         (A) Information Withheld. A person withholding subpoenaed
served before the earlier of the time specified for compliance or 14                  information under a claim that it is privileged or subject to
days after the subpoena is served. If an objection is made, the                       protection as trial-preparation material must:
following rules apply:                                                                     (i) expressly make the claim; and
     (i) At any time, on notice to the commanded person, the serving                       (ii) describe the nature of the withheld documents,
party may move the court for the district where compliance is                         communications, or tangible things in a manner that, without
required for an order compelling production or inspection.                            revealing information itself privileged or protected, will enable the
or inspection.                                                                        parties to assess the claim.
     (ii) These acts may be required only as directed in the order, and                   (B) Information Produced. If information produced in response to
the order must protect a person who is neither a party nor a party’s                  a subpoena is subject to a claim of privilege or of protection as trial-
officer from significant expense resulting from compliance.                           preparation material, the person making the claim may notify any
  (3) Quashing or Modifying a Subpoena.                                               party that received the information of the claim and the basis for it.
    (A) When Required. On timely motion, the court for the district                   After being notified, a party must promptly return, sequester, or
where compliance is required must quash or modify a subpoena that:                    destroy the specified information and any copies it has; must not use
     (i) fails to allow a reasonable time to comply;                                  or disclose the information until the claim is resolved; must take
     (ii) requires a person to comply beyond the geographical limits                  reasonable steps to retrieve the information if the party disclosed it
specified in Rule 45(c);                                                              before being notified; and may promptly present the information to
     (iii) requires disclosure of privileged or other protected matter, if            the court under seal for a determination of the claim. The person
no exception or waiver applies; or                                                    who produced the information must preserve the information until
     (iv) subjects a person to undue burden.                                          the claim is resolved.
(B) When Permitted. To protect a person subject to or affected by
a subpoena, the court for the district where compliance is required                   (g) Contempt.
may, on motion, quash or modify the subpoena if it requires:                          The court for the district where compliance is required—and also,
     (i) disclosing a trade secret or other confidential research,                    after a motion is transferred, the issuing court—may hold in contempt
development, or commercial information;                                               a person who, having been served, fails without adequate excuse to
     (ii) disclosing an unretained expert’s opinion or information that               obey the subpoena or an order related to it..
does not describe specific occurrences in dispute and results from

                                                                                3
  Case 1:18-cv-24100-MGC Document 61-3 Entered on FLSD Docket 03/24/2020 Page 38 of 55

                                                             EXHIBIT A

         Your entire file relating to RIGOBERTO VINAS (the “patient”), for the period of January 1,
         2005 to present, including but not limited to:

         1.       Intake and/or new patient forms.

         2.       Admissions and discharge summaries, medical histories, physical and mental examination
                  records, operative reports, progress notes, notations by physicians, nurse notes, diagnoses
                  reports, raw test data and results, laboratory reports, pathology slides, and tissue studies.

         3.       Any and all records obtained or received from other health care practitioners relating to the
                  patient.

         4.       All actual tests including but not limited to X-ray films, imaging proofs, MRI, CAT scans,
                  EKG studies, and EEG’s. (Please provide us with an estimate of your charges prior to
                  copying films).

         5.       Insurance claim forms and other documentation relating to insurance claims filed
                  concerning treatment provided to the patient.

         6.       Prescription logs.

         7.       Telephone logs documenting conversations with the patient and/or other persons on the
                  patient’s behalf.

         8.       Diaries or other records provided by the patient relating to the patient’s condition and/or
                  symptoms.

         9.       Correspondence with the patient and/or someone on the patient’s behalf relating to a claim
                  for disability benefits.

         10.      All correspondence sent or received concerning the patient.

         11.      Any other records, reports, summaries, correspondence or written documentation relating
                  in any way to the patient’s mental, physical or emotional condition, health or medical
                  treatment.


                                    MR. VINAS’ SOCIAL SECURITY NUMBER
                                      AND DATE OF BIRTH ARE PROVIDED
                                         IN THE ATTACHED LETTER
                                 (SEE EXHIBIT B FOR CONTACT INFORMATION)


PLEASE BE ADVISED this subpoena conforms with the Standards for Privacy of Individually Identifiable Health Information and
Health Insurance Portability and Accountability Act of 1996 (HIPAA) in that it provides written assurances pursuant to 45 C.F.R. Sec.
164.512(e). By service of this Subpoena on Plaintiff’s attorney, Defendant hereby makes reasonable efforts to give Plaintiff notice of
this request and an opportunity to object. If Plaintiff makes no objection prior to the date of production and inspection identified herein,
the covered entity subject to this Subpoena shall disclose the requested protected health information.
Case 1:18-cv-24100-MGC Document 61-3 Entered on FLSD Docket 03/24/2020 Page 39 of 55

                                            EXHIBIT B



    1.    Produce the information requested in the following manner:

          a.     Photocopy the described information and mail or E-mail it to:

                 Brenda Kronzek, Paralegal
                 McDowell Hetherington, LLP
                 2385 NW Executive Center Drive
                 Suite 400
                 Boca Raton, FL 33431
                 (561) 430-3023
                 (561) 982-8985 (facsimile)
                 Brenda.Kronzek@mhllp.com




                                                 5
Case 1:18-cv-24100-MGC Document 61-3 Entered on FLSD Docket 03/24/2020 Page 40 of 55

                                    CERTIFICATE OF SERVICE

    I certify that on March 3, 2020, a copy of this document was served via e-mail on:

                          Craig M. Greene, Esq.
                          Kramer Green Zuckerman Greene & Buchsbaum, P.A.
                          4000 Hollywood Blvd.
                          Suite 485-S
                          Hollywood, FL 33021
                          cgreene@kramergreen.com

                          Adrian Neiman Arkin, Esq.
                          Mintz Truppman, P.A.
                          1700 Sans Souci Blvd.
                          North Miami, FL 33181
                          adrian@mintztruppman.com



                                 Kristina B. Pett
                                 MCDOWELL HETHERINGTON, LLP
                                 Attorneys for Defendant
                                 2385 N.W. Executive Center Drive, Suite 400
                                 Boca Raton, FL 33431
                                 (561) 994-4311
                                 (561) 982-8985 fax




                                                    6
Case 1:18-cv-24100-MGC Document 61-3 Entered on FLSD Docket 03/24/2020 Page 41 of 55




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                           CASE NO. 18-CV-24100-COOKE/GOODMAN


    DIGNA VINAS,

                  Plaintiff/Counter Defendant,

    v.

    THE INDEPENDENT ORDER
    OF FORESTERS,

                Defendant/Counter Plaintiff.
    ___________________________________/

                    NOTICE OF ISSUANCE OF NON-PARTY SUBPOENAS

    TO: Craig M. Greene, Esq.
        Kramer Green Zuckerman Greene & Buchsbaum, P.A.
        4000 Hollywood Blvd.
        Suite 485-S
        Hollywood, FL 33021

         Adrian Neiman Arkin, Esq.
         Mintz Truppman, P.A.
         1700 Sans Souci Blvd.
         North Miami, FL 33181


    PLEASE TAKE NOTICE that the undersigned counsel has issued Subpoenas to produce

    documents, information, or objects pursuant to Federal Rule of Civil Procedure 45, true and

    correct copies which are attached, that command the production of documents and things

    described therein. Said Subpoenas are being served upon:


                         LabCorp Tampa
                         c/o Records Custodian
                         5610 LaSalle St.
                         Tampa, FL 33607-1770
Case 1:18-cv-24100-MGC Document 61-3 Entered on FLSD Docket 03/24/2020 Page 42 of 55




                          Quest Diagnostics Incorporated
                          c/o Corporation Service Corporation, as Registered Agent
                          1201 Hays St.
                          Tallahassee, FL 32301-2525

    In accordance with the subpoenas, The Independent Order of Foresters has requested that the

    above listed non-parties produce records as directed in the subpoenas.



    Dated: March 16, 2020                MCDOWELL HETHERINGTON LLP
                                         Attorneys for Defendant/Counter Plaintiff
                                         2101 N.W. Corporate Blvd., Suite 316
                                         Boca Raton, FL 33431
                                         (561) 994-4311
                                         (561) 982-8985 fax




                                         By: s/Kristina B. Pett
                                         KRISTINA B. PETT
                                         Fla. Bar No. 0973688
                                         kristina.pett@mhllp.com




                                                    2
Case 1:18-cv-24100-MGC Document 61-3 Entered on FLSD Docket 03/24/2020 Page 43 of 55




                                 CERTIFICATE OF SERVICE

           I certify that on March 16, 2020, I served a copy of this document via Email on the
    following:

                               Craig M. Greene, Esq.
                               Kramer Green Zuckerman Greene & Buchsbaum, P.A.
                               4000 Hollywood Blvd.
                               Suite 485-S
                               Hollywood, FL 33021
                               cgreene@kramergreen.com
                               Counsel for Plaintiff/Counter Defendant

                               Adrian Neiman Arkin, Esq.
                               Mintz Truppman, P.A.
                               1700 Sans Souci Blvd.
                               North Miami, FL 33181
                               adrian@mintztruppman.com
                               Co-Counsel for Plaintiff/Counter Defendant


                                      s/Kristina B. Pett
                                      Kristina B. Pett




                                                 3
  Case 1:18-cv-24100-MGC Document 61-3 Entered on FLSD Docket 03/24/2020 Page 44 of 55
  AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action

                                          UNITED STATES DISTRICT COURT
                                                                 for the
                                                      SOUTHERN DISTRICT OF FLORIDA

  DIGNA VINAS,                                                            )
                                                                          )
                    Plaintiff/Counter Defendant,                          )
                   v.                                                     ) Civil Action No. 18-cv-24100-COOKE/GOODMAN
                                                                          )
  THE INDEPENDENT ORDER                                                   )
  OF FORESTERS,                                                           )
                    Defendant/Counter Plaintiff.                          )
                                                                          )
                         SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                           OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To:      LabCorp Tampa
         c/o Records Custodian
         5610 W. LaSalle Street
         Tampa, FL 33607
   Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: SEE ATTACHED EXHIBITS A AND B
      Place: 5610 W. LaSalle Street, Tampa, FL 33607                               Date and Time: Friday, April 3, 2020 at 9:30am



         □      Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or other
property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party may inspect,
measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                           Date and Time:



__________________________________________________________________________________________________
          The following provisions of Fed. R. Civ. P. 45 are attached- Rule 45(c) relating to the place of compliance; Rule 45 (d),
relating to your protection as a person subject to a subpoena; and Rule 45 (e) and (g), relating to your duty to respond to this subpoena
and the potential consequences of not doing so.

Date: ___________                  _____
                               CLERK OF COURT                                           OR
                               __________________________________
                                         Signature of Clerk or Deputy Clerk                                         Attorney’s signature
____________________________________________________________________________________________________________

 The name, address, e-mail, and telephone number of the attorney representing (name party) The Independent Order of
Foresters, who issued or requested this subpoena, are:
                        Kristina B. Pett, Esq, McDowell Hetherington, LLP
                        2385 N.W. Executive Center Drive
                        Boca Raton, FL 33431; Kristina.Pettemhllp.com; (561) 994-4311
 Case 1:18-cv-24100-MGC Document 61-3 Entered on FLSD Docket 03/24/2020 Page 45 of 55

  AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)
 Civil Action No. 18-cv-24100-COOKE/GOODMAN
                                                              PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

          I received this subpoena for (name of individual and title, if any)
          _______________________________________________________ on (date) ___________________________.
          □ I served the subpoena by delivering a copy to the named person as follows: ____________________________
          ___________________________________________________________________________________________
          __________________________________________________ on (date) ____________________ ; or
          □ I returned the subpoena unexecuted because: _____________________________________________________
          ___________________________________________________________________________________________.
          Unless the subpoena was issued on behalf of the United States, or one of its officer or agents, I have also
          tendered to the witness fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $ __________________________.
My fees are $ ____________________ for travel and $ ________________ for services, for a total of $ ______________.


          I declare under penalty of perjury that this information is true.


Date: ___________________                                  _____________________________________________________________
                                                                                                       Server’s signature


                                                           ____________________________________________________________________
                                                                                       Printed name and title



                                                           ____________________________________________________________________
                                                                                         Server’s address


Additional information regarding attempted service, etc:




                                                                               2
  Case 1:18-cv-24100-MGC Document 61-3 Entered on FLSD Docket 03/24/2020 Page 46 of 55
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 3)

                         Federal Rule of Civil Procedure 45(c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                              the expert’s study that was not requested by a party.
 (1) For a Trial, Hearing or Deposition. A subpoena may command                         (C) Specifying Conditions as an Alternative. In the circumstances
a person to attend a trial, hearing, or deposition only as follows:                   described in Rule 45(d)(3)(B), the court may, instead of quashing or
   (A) within 100 miles of where the person resides, is employed, or                  modifying a subpoena, order appearance or production under
regularly transacts business in person; or                                            specified conditions if the serving party:
   (B) within the state where the person resides, is employed, or                          (i) shows a substantial need for the testimony or material that
regularly transacts business in person, if in person                                  cannot be otherwise met without undue hardship; and
            (i) is a party or a party’s officer; or                                        (ii) ensures that the subpoenaed person will be reasonably
            (ii) is commanded to attend a trial and would not incur                   compensated.
substantial expense.
  (2) For Other Discovery. A subpoena may command:                                    (e) Duties in Responding to a Subpoena.
    (A) production of documents, electronically stored information, or                  (1) Producing Documents or Electronically Stored Information.
tangible things at a place within 100 miles of where the person                       These procedures apply to producing documents or electronically
resident, is employed, or regularly transacts business in person; and                 stored information:
    (B) is commanded to attend a trial and would not incur substantial                   (A) Documents. A person responding to a subpoena to produce
expense.                                                                              documents must produce them as they are kept in the ordinary
                                                                                      course of business or must organize and label them to correspond to
 (d) Protecting a Person Subject to a Subpoena; Enforcement.                          the categories in the demand.
  (1) Avoiding Undue Burden or Expense; Sanctions. A party or                            (B) Form for Producing Electronically Stored Information Not
attorney responsible for issuing and serving a subpoena must take                     Specified. If a subpoena does not specify a form for producing
reasonable steps to avoid imposing undue burden or expense on a                       electronically stored information, the person responding must
person subject to the subpoena. The court for the district where                      produce it in a form or forms in which it is ordinarily maintained or
compliance is required must enforce this duty and impose an                           in a reasonably usable form or forms.
appropriate sanction — which may include lost earnings and                               (C) Electronically Stored Information Produced in Only One
reasonable attorney’s fees — on a party or attorney                                   Form. The person responding need not produce the same
who fails to comply.                                                                  electronically stored information in more than one form.
  (2) Command to Produce Materials or Permit Inspection.                                 (D) Inaccessible Electronically Stored Information. The person
    (A) Appearance Not Required. A person commanded to produce                        responding need not provide discovery of electronically stored
documents, electronically stored information, or tangible things, or                  information from sources that the person identifies as not reasonably
to permit the inspection of premises, need not appear in person at the                accessible because of undue burden or cost. On motion to compel
place of production or inspection unless also commanded to appear                     discovery or for a protective order, the person responding must show
for a deposition, hearing, or trial.                                                  that the information is not reasonably accessible because of undue
    (B) Objections. A person commanded to produce documents or                        burden or cost. If that showing is made, the court may nonetheless
tangible things or to permit inspection may serve on the party or                     order discovery from such sources if the requesting party shows
attorney designated in the subpoena a written objection to                            good cause, considering the limitations of Rule 26(b)(2)(C). The
inspecting, copying, testing or sampling any or all of the materials or               court may specify conditions for the discovery.
to inspecting the premises — or to producing electronically stored                     (2) Claiming Privilege or Protection.
information in the form or forms requested. The objection must be                        (A) Information Withheld. A person withholding subpoenaed
served before the earlier of the time specified for compliance or 14                  information under a claim that it is privileged or subject to
days after the subpoena is served. If an objection is made, the                       protection as trial-preparation material must:
following rules apply:                                                                     (i) expressly make the claim; and
     (i) At any time, on notice to the commanded person, the serving                       (ii) describe the nature of the withheld documents,
party may move the court for the district where compliance is                         communications, or tangible things in a manner that, without
required for an order compelling production or inspection.                            revealing information itself privileged or protected, will enable the
or inspection.                                                                        parties to assess the claim.
     (ii) These acts may be required only as directed in the order, and                  (B) Information Produced. If information produced in response to
the order must protect a person who is neither a party nor a party’s                  a subpoena is subject to a claim of privilege or of protection as trial-
officer from significant expense resulting from compliance.                           preparation material, the person making the claim may notify any
  (3) Quashing or Modifying a Subpoena.                                               party that received the information of the claim and the basis for it.
    (A) When Required. On timely motion, the court for the district                   After being notified, a party must promptly return, sequester, or
where compliance is required must quash or modify a subpoena that:                    destroy the specified information and any copies it has; must not use
     (i) fails to allow a reasonable time to comply;                                  or disclose the information until the claim is resolved; must take
     (ii) requires a person to comply beyond the geographical limits                  reasonable steps to retrieve the information if the party disclosed it
specified in Rule 45(c);                                                              before being notified; and may promptly present the information to
     (iii) requires disclosure of privileged or other protected matter, if            the court under seal for a determination of the claim. The person
no exception or waiver applies; or                                                    who produced the information must preserve the information until
     (iv) subjects a person to undue burden.                                          the claim is resolved.
(B) When Permitted. To protect a person subject to or affected by
a subpoena, the court for the district where compliance is required                   (g) Contempt.
may, on motion, quash or modify the subpoena if it requires:                          The court for the district where compliance is required—and also,
     (i) disclosing a trade secret or other confidential research,                    after a motion is transferred, the issuing court—may hold in contempt
development, or commercial information;                                               a person who, having been served, fails without adequate excuse to
     (ii) disclosing an unretained expert’s opinion or information that               obey the subpoena or an order related to it..
does not describe specific occurrences in dispute and results from

                                                                                3
  Case 1:18-cv-24100-MGC Document 61-3 Entered on FLSD Docket 03/24/2020 Page 47 of 55

                                                             EXHIBIT A

         Your entire file relating to RIGOBERTO VINAS (the “patient”), including but not limited to:

         1.       Intake and/or new patient forms.

         2.       Admissions and discharge summaries, medical histories, physical and mental examination
                  records, operative reports, progress notes, notations by physicians, nurse notes, diagnoses
                  reports, raw test data and results, laboratory reports, pathology slides, and tissue studies.

         3.       Any and all records obtained or received from other health care practitioners relating to the
                  patient.

         4.       All actual tests including but not limited to X-ray films, imaging proofs, MRI, CAT scans,
                  EKG studies, and EEG’s. (Please provide us with an estimate of your charges prior to
                  copying films or CD’s).

         5.       Insurance claim forms and other documentation relating to insurance claims filed
                  concerning treatment provided to the patient.

         6.       Prescription logs.

         7.       Telephone logs documenting conversations with the patient and/or other persons on the
                  patient’s behalf.

         8.       Diaries or other records provided by the patient relating to the patient’s condition and/or
                  symptoms.

         9.       All correspondence sent or received concerning the patient.

         10.      Any other records, reports, summaries, correspondence or written documentation relating
                  in any way to the patient’s mental, physical or emotional condition, health or medical
                  treatment.


                                    MR. VINAS’ SOCIAL SECURITY NUMBER
                                      AND DATE OF BIRTH ARE PROVIDED
                                         IN THE ATTACHED LETTER
                                 (SEE EXHIBIT B FOR CONTACT INFORMATION)


PLEASE BE ADVISED this subpoena conforms with the Standards for Privacy of Individually Identifiable Health Information and
Health Insurance Portability and Accountability Act of 1996 (HIPAA) in that it provides written assurances pursuant to 45 C.F.R. Sec.
164.512(e). By service of this Subpoena on Plaintiff’s attorney, Defendant hereby makes reasonable efforts to give Plaintiff notice of
this request and an opportunity to object. If Plaintiff makes no objection prior to the date of production and inspection identified herein,
the covered entity subject to this Subpoena shall disclose the requested protected health information.
Case 1:18-cv-24100-MGC Document 61-3 Entered on FLSD Docket 03/24/2020 Page 48 of 55

                                            EXHIBIT B



    1.    Produce the information requested in the following manner:

          a.     Photocopy the described information and mail or E-mail it to:

                 Brenda Kronzek, Paralegal
                 McDowell Hetherington, LLP
                 2385 NW Executive Center Drive
                 Suite 400
                 Boca Raton, FL 33431
                 (561) 430-3023
                 (561) 982-8985 (facsimile)
                 Brenda.Kronzek@mhllp.com




                                                 5
Case 1:18-cv-24100-MGC Document 61-3 Entered on FLSD Docket 03/24/2020 Page 49 of 55

                                    CERTIFICATE OF SERVICE

    I certify that on March 16, 2020, a copy of this document was served via e-mail on:

                          Craig M. Greene, Esq.
                          Kramer Green Zuckerman Greene & Buchsbaum, P.A.
                          4000 Hollywood Blvd.
                          Suite 485-S
                          Hollywood, FL 33021
                          cgreene@kramergreen.com

                          Adrian Neiman Arkin, Esq.
                          Mintz Truppman, P.A.
                          1700 Sans Souci Blvd.
                          North Miami, FL 33181
                          adrian@mintztruppman.com


                                                         _
                                 Kristina B. Pett
                                 MCDOWELL HETHERINGTON, LLP
                                 Attorneys for Defendant
                                 2385 N.W. Executive Center Drive, Suite 400
                                 Boca Raton, FL 33431
                                 (561) 994-4311
                                 (561) 982-8985 fax




                                                   6
  Case 1:18-cv-24100-MGC Document 61-3 Entered on FLSD Docket 03/24/2020 Page 50 of 55
  AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action

                                          UNITED STATES DISTRICT COURT
                                                                 for the
                                                      SOUTHERN DISTRICT OF FLORIDA

  DIGNA VINAS,                                                            )
                                                                          )
                    Plaintiff/Counter Defendant,                          )
                   v.                                                     ) Civil Action No. 18-cv-24100-COOKE/GOODMAN
                                                                          )
  THE INDEPENDENT ORDER                                                   )
  OF FORESTERS,                                                           )
                    Defendant/Counter Plaintiff.                          )
                                                                          )
                         SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                           OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To:      Quest Diagnostics Incorporated
         c/o Corporation Service Company, as Registered Agent
         1201 Hays St.
         Tallahassee, FL 32301
   Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: SEE ATTACHED EXHIBITS A AND B
      Place: 1201 Hays St., Tallahassee, FL 32301                                  Date and Time: Friday, April 3, 2020 at 10:00am



         □      Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or other
property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party may inspect,
measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                           Date and Time:



__________________________________________________________________________________________________
          The following provisions of Fed. R. Civ. P. 45 are attached- Rule 45(c) relating to the place of compliance; Rule 45 (d),
relating to your protection as a person subject to a subpoena; and Rule 45 (e) and (g), relating to your duty to respond to this subpoena
and the potential consequences of not doing so.

Date: ___________                  _____
                               CLERK OF COURT                                           OR
                               __________________________________
                                         Signature of Clerk or Deputy Clerk                                         Attorney’s signature
____________________________________________________________________________________________________________

 The name, address, e-mail, and telephone number of the attorney representing (name party) The Independent Order of
Foresters, who issued or requested this subpoena, are:
                        Kristina B. Pett, Esq, McDowell Hetherington, LLP
                        2385 N.W. Executive Center Drive
                        Boca Raton, FL 33431; Kristina.Pettemhllp.com; (561) 994-4311
 Case 1:18-cv-24100-MGC Document 61-3 Entered on FLSD Docket 03/24/2020 Page 51 of 55

  AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)
 Civil Action No. 18-cv-24100-COOKE/GOODMAN
                                                              PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

          I received this subpoena for (name of individual and title, if any)
          _______________________________________________________ on (date) ___________________________.
          □ I served the subpoena by delivering a copy to the named person as follows: ____________________________
          ___________________________________________________________________________________________
          __________________________________________________ on (date) ____________________ ; or
          □ I returned the subpoena unexecuted because: _____________________________________________________
          ___________________________________________________________________________________________.
          Unless the subpoena was issued on behalf of the United States, or one of its officer or agents, I have also
          tendered to the witness fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $ __________________________.
My fees are $ ____________________ for travel and $ ________________ for services, for a total of $ ______________.


          I declare under penalty of perjury that this information is true.


Date: ___________________                                  _____________________________________________________________
                                                                                                       Server’s signature


                                                           ____________________________________________________________________
                                                                                       Printed name and title



                                                           ____________________________________________________________________
                                                                                         Server’s address


Additional information regarding attempted service, etc:




                                                                               2
  Case 1:18-cv-24100-MGC Document 61-3 Entered on FLSD Docket 03/24/2020 Page 52 of 55
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 3)

                         Federal Rule of Civil Procedure 45(c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                              the expert’s study that was not requested by a party.
 (1) For a Trial, Hearing or Deposition. A subpoena may command                         (C) Specifying Conditions as an Alternative. In the circumstances
a person to attend a trial, hearing, or deposition only as follows:                   described in Rule 45(d)(3)(B), the court may, instead of quashing or
   (A) within 100 miles of where the person resides, is employed, or                  modifying a subpoena, order appearance or production under
regularly transacts business in person; or                                            specified conditions if the serving party:
   (B) within the state where the person resides, is employed, or                          (i) shows a substantial need for the testimony or material that
regularly transacts business in person, if in person                                  cannot be otherwise met without undue hardship; and
            (i) is a party or a party’s officer; or                                        (ii) ensures that the subpoenaed person will be reasonably
            (ii) is commanded to attend a trial and would not incur                   compensated.
substantial expense.
  (2) For Other Discovery. A subpoena may command:                                    (e) Duties in Responding to a Subpoena.
    (A) production of documents, electronically stored information, or                  (1) Producing Documents or Electronically Stored Information.
tangible things at a place within 100 miles of where the person                       These procedures apply to producing documents or electronically
resident, is employed, or regularly transacts business in person; and                 stored information:
    (B) is commanded to attend a trial and would not incur substantial                   (A) Documents. A person responding to a subpoena to produce
expense.                                                                              documents must produce them as they are kept in the ordinary
                                                                                      course of business or must organize and label them to correspond to
 (d) Protecting a Person Subject to a Subpoena; Enforcement.                          the categories in the demand.
  (1) Avoiding Undue Burden or Expense; Sanctions. A party or                            (B) Form for Producing Electronically Stored Information Not
attorney responsible for issuing and serving a subpoena must take                     Specified. If a subpoena does not specify a form for producing
reasonable steps to avoid imposing undue burden or expense on a                       electronically stored information, the person responding must
person subject to the subpoena. The court for the district where                      produce it in a form or forms in which it is ordinarily maintained or
compliance is required must enforce this duty and impose an                           in a reasonably usable form or forms.
appropriate sanction — which may include lost earnings and                               (C) Electronically Stored Information Produced in Only One
reasonable attorney’s fees — on a party or attorney                                   Form. The person responding need not produce the same
who fails to comply.                                                                  electronically stored information in more than one form.
  (2) Command to Produce Materials or Permit Inspection.                                 (D) Inaccessible Electronically Stored Information. The person
    (A) Appearance Not Required. A person commanded to produce                        responding need not provide discovery of electronically stored
documents, electronically stored information, or tangible things, or                  information from sources that the person identifies as not reasonably
to permit the inspection of premises, need not appear in person at the                accessible because of undue burden or cost. On motion to compel
place of production or inspection unless also commanded to appear                     discovery or for a protective order, the person responding must show
for a deposition, hearing, or trial.                                                  that the information is not reasonably accessible because of undue
    (B) Objections. A person commanded to produce documents or                        burden or cost. If that showing is made, the court may nonetheless
tangible things or to permit inspection may serve on the party or                     order discovery from such sources if the requesting party shows
attorney designated in the subpoena a written objection to                            good cause, considering the limitations of Rule 26(b)(2)(C). The
inspecting, copying, testing or sampling any or all of the materials or               court may specify conditions for the discovery.
to inspecting the premises — or to producing electronically stored                     (2) Claiming Privilege or Protection.
information in the form or forms requested. The objection must be                        (A) Information Withheld. A person withholding subpoenaed
served before the earlier of the time specified for compliance or 14                  information under a claim that it is privileged or subject to
days after the subpoena is served. If an objection is made, the                       protection as trial-preparation material must:
following rules apply:                                                                     (i) expressly make the claim; and
     (i) At any time, on notice to the commanded person, the serving                       (ii) describe the nature of the withheld documents,
party may move the court for the district where compliance is                         communications, or tangible things in a manner that, without
required for an order compelling production or inspection.                            revealing information itself privileged or protected, will enable the
or inspection.                                                                        parties to assess the claim.
     (ii) These acts may be required only as directed in the order, and                  (B) Information Produced. If information produced in response to
the order must protect a person who is neither a party nor a party’s                  a subpoena is subject to a claim of privilege or of protection as trial-
officer from significant expense resulting from compliance.                           preparation material, the person making the claim may notify any
  (3) Quashing or Modifying a Subpoena.                                               party that received the information of the claim and the basis for it.
    (A) When Required. On timely motion, the court for the district                   After being notified, a party must promptly return, sequester, or
where compliance is required must quash or modify a subpoena that:                    destroy the specified information and any copies it has; must not use
     (i) fails to allow a reasonable time to comply;                                  or disclose the information until the claim is resolved; must take
     (ii) requires a person to comply beyond the geographical limits                  reasonable steps to retrieve the information if the party disclosed it
specified in Rule 45(c);                                                              before being notified; and may promptly present the information to
     (iii) requires disclosure of privileged or other protected matter, if            the court under seal for a determination of the claim. The person
no exception or waiver applies; or                                                    who produced the information must preserve the information until
     (iv) subjects a person to undue burden.                                          the claim is resolved.
(B) When Permitted. To protect a person subject to or affected by
a subpoena, the court for the district where compliance is required                   (g) Contempt.
may, on motion, quash or modify the subpoena if it requires:                          The court for the district where compliance is required—and also,
     (i) disclosing a trade secret or other confidential research,                    after a motion is transferred, the issuing court—may hold in contempt
development, or commercial information;                                               a person who, having been served, fails without adequate excuse to
     (ii) disclosing an unretained expert’s opinion or information that               obey the subpoena or an order related to it..
does not describe specific occurrences in dispute and results from

                                                                                3
  Case 1:18-cv-24100-MGC Document 61-3 Entered on FLSD Docket 03/24/2020 Page 53 of 55

                                                             EXHIBIT A

         Your entire file relating to RIGOBERTO VINAS (the “patient”), including but not limited to:

         1.       Intake and/or new patient forms.

         2.       Admissions and discharge summaries, medical histories, physical and mental examination
                  records, operative reports, progress notes, notations by physicians, nurse notes, diagnoses
                  reports, raw test data and results, laboratory reports, pathology slides, and tissue studies.

         3.       Any and all records obtained or received from other health care practitioners relating to the
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         9.       All correspondence sent or received concerning the patient.

         10.      Any other records, reports, summaries, correspondence or written documentation relating
                  in any way to the patient’s mental, physical or emotional condition, health or medical
                  treatment.


                                    MR. VINAS’ SOCIAL SECURITY NUMBER
                                      AND DATE OF BIRTH ARE PROVIDED
                                         IN THE ATTACHED LETTER
                                 (SEE EXHIBIT B FOR CONTACT INFORMATION)


PLEASE BE ADVISED this subpoena conforms with the Standards for Privacy of Individually Identifiable Health Information and
Health Insurance Portability and Accountability Act of 1996 (HIPAA) in that it provides written assurances pursuant to 45 C.F.R. Sec.
164.512(e). By service of this Subpoena on Plaintiff’s attorney, Defendant hereby makes reasonable efforts to give Plaintiff notice of
this request and an opportunity to object. If Plaintiff makes no objection prior to the date of production and inspection identified herein,
the covered entity subject to this Subpoena shall disclose the requested protected health information.
Case 1:18-cv-24100-MGC Document 61-3 Entered on FLSD Docket 03/24/2020 Page 54 of 55

                                            EXHIBIT B



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                 Brenda Kronzek, Paralegal
                 McDowell Hetherington, LLP
                 2385 NW Executive Center Drive
                 Suite 400
                 Boca Raton, FL 33431
                 (561) 430-3023
                 (561) 982-8985 (facsimile)
                 Brenda.Kronzek@mhllp.com




                                                 5
Case 1:18-cv-24100-MGC Document 61-3 Entered on FLSD Docket 03/24/2020 Page 55 of 55

                                    CERTIFICATE OF SERVICE

    I certify that on March 16, 2020, a copy of this document was served via e-mail on:

                          Craig M. Greene, Esq.
                          Kramer Green Zuckerman Greene & Buchsbaum, P.A.
                          4000 Hollywood Blvd.
                          Suite 485-S
                          Hollywood, FL 33021
                          cgreene@kramergreen.com

                          Adrian Neiman Arkin, Esq.
                          Mintz Truppman, P.A.
                          1700 Sans Souci Blvd.
                          North Miami, FL 33181
                          adrian@mintztruppman.com


                                                         _
                                 Kristina B. Pett
                                 MCDOWELL HETHERINGTON, LLP
                                 Attorneys for Defendant
                                 2385 N.W. Executive Center Drive, Suite 400
                                 Boca Raton, FL 33431
                                 (561) 994-4311
                                 (561) 982-8985 fax




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